Case 6:17-CV-06061-C.]S-I\/|WP Document 88 Filed 10/05/18 Page 1 of 7

UN|TED STATES D|STR|CT COURT
WESTERN DlSTR|CT OF NEW YORK

 

THE ESTATE 0F STANLEY KAUFFMANN,
P|aintiff,
_VS_
ROCHESTER |NST|TUTE 0F TECHNOLOGY,

Defendant. DEC|SION & ORDER

 

l7-CV-6061-CJS-I\/|WP
ROCHESTER lNSTlTUTE OF TECHNOLOGY,

Third Party P|aintiff,
_VS_
ROBERT J. CARDULLO,

Third Party Defendant.

 

APPEARANCES

For PIaintiff/Third Party P|aintiff: Kenneth P. Norwick, Esq.
Norwick Schad & Goering
110 East 59th Street 29th F|oor
New York, NY 10022
(212) 751-4440

For Defendant: Jeremy P. OCzek, Esq.
N|ary Patricia Moore, Esq.
Bond, Schoeneck & King, PLLC
Avant Bui|ding
200 De|aware Avenue Suite 900
Buffa|o, NY 14202
(716) 416-7037

For Third Party Defendant: |n Defau|t

Case 6:17-cv-06061-C.]S-l\/|WP Document 88 Filed 10/05/18 Page 2 of 7

|NTRODUCT|0N
Siragusa, J. This copyright infringement case is before the Court on Defendant Roch-

ester institute of Technology’s (“RlT") motion for full costs of approximately $184,584.64,
including attorney fees. pursuant to 17 U.S.C. § 505 and Federal Rule of Civil Procedure
54(d)(2). The Court previously ruled in favor of R|T on its motion for summaryjudgment, the
Clerk entered judgment for RlT, and the Estate of Stanley Kauffman (“the Estate”) has filed a
notice of appeal. For the reasons stated below, the Court grants in part and denies in part

RlT’s application for costs.

BACKGROUND

Plaintiff Stan|ey Kauffmann (“Kauffmann”) was an author of numerous movie reviews
primarily for THE NEW REPUBLlc, “an independent journal of opinion promoting novel solutions
to the challenges of our time.” About, THE NEw REPuBLic (i;ljt;ps_;;j_n_ewi;epub;
lic.com/pagesz@__n©;ll) aCCeSsed on Jul. 24, 2018. At issue is whether the Court should award
full costs, including a reasonable attorney’s fee, to RlT considering the Estate's litigation
stance concerning 44 articles by the late Stan|ey Kauffman that RlT published in a book which
the Estate claims is infringing. The Court found that a 2004 agreement signed by Stanley
Kauffman memorialized a prior understanding between him and THE NEW REPUBLlc that each
of l\/lr. Kauffmann’s contributions to the magazine constituted a work for hire as defined in
the 1976 Copyright Act. The Court has reviewed the memoranda and declarations submitted

by each side, and heard oral argument on the motion.

Case 6:17-cv-06061-C.]S-l\/|WP Document 88 Filed 10/05/18 Page 3 of 7

STAN DARD OF LAW
A prevailing party must file a motion no later than fourteen days after the entry ofjudg-

ment specifying the rule under which attorney’s fees are due, the grounds for the award, and
“the amount sought or provide a fair estimate of it." Fed. R. Civ. P. 54(d)(2)(A), (B)(i)-(iv). “The
court may decide issues of liability for fees before receiving submissions on the value of ser-
vices,” and it “must find the facts and state its conclusions of law as provided in Rule 52(a).”
Fed. R. Civ. P. 54(d)(2)(C).

The Copyright Act of 1976 provides that a prevailing party may move for “recovery of
full costs” which “the court in its discretion may allow,” and “the court may also award a rea-
sonable attorney’s fee to the prevailing party as part of the costs.” 17 U.S.C. § 505 (LEX|S
through Pub. L. No. 115-238, approved 9/7/18, with a dap of PL 115-232). The Court cannot

“award[ ] attorney’s fees as a matter of course”; rather, a court must make a

more particularized, case-by-case assessment.... Second, a court may not treat

prevailing plaintiffs and prevailing defendants any differently; defendants

should be “encouraged to litigate [meritorious copyright defenses] to the same

extent that plaintiffs are encouraged to litigate meritorious claims of infringe-

ment.".... ln addition, we noted with approval “several nonexclusive factors” to

inform a court’s fee-shifting decisions: “frivolousness, motivation, objective un-

reasonableness[,] and the need in particular circumstances to advance consid-
erations of compensation and deterrence.”

Kirtsaeng v. ./ohn Wiley & Sons, lnc., 136 S. Ct. 1979, 1985 (2016) (internal citations to

Fogerty v. Fantasy, Inc., 510 U.S. 517 (1994) omitted).

DlSCUSS|ON

RlT argues that

it was objectively unreasonable for the Estate to conclude it owned the copy-
rights for Mr. Kauffmann’s 1999 film review contributions to THE NEW REPUBLlc

Case 6:17-cv-06061-C.]S-l\/|WP Document 88 Filed 10/05/18 Page 4 of 7

considering that it never contacted THE NEw REPuBLlc to discuss l\/lr. Kauff-
mann’s alleged copyrights, and it readily would have discovered the work for
hire agreement had it done so.

RlT’s Reply Mem. of Law 5, Sept. 11, 2018, ECF No. 85. The Estate contends that it was
sufficient to rely on the recollections of Robert Marx and Henry Thayer about Mr. Kauffmann's
understanding of the copyright status of his works at issue in this case for THE NEW REPuBLlc.
The Estate Mem. of Law 8, Sept. 5, 2018, ECF No. 82.

The Court agrees that had the Estate contacted THE NEw REPuBLlc earlier, it would likely
have learned of the 2004 agreement on which this Court based its decision for RlT. However,
it is unlikely that counsel for the Estate would have dropped the lawsuit, since his theory all
along has been that the 2004 agreement is too remote in time from the 1999 film reviews to
be an effective writing pursuant to 17 U.S.C. §§ 101(2).l Presumably this is the issue the
Estate is raising on appeal to the Second Circuit to settle the question of whether a later-
created writing memorializing a prior oral understanding is sufficient to show that the works
covered by that writing are works made for hire.

The Court determined that the Second Circuit's decision in Playboy Enters. v. Dumas,
53 F.3d 549 (2d Cir. 1995), was applicable. ln that case, the circuit court reviewed the district
court’s decision that any written agreement under § 101(2)'s work made for hire require-
ments would need to exist before the work was created. Id. at 558. Counsel for the Estate,

who was co-counsel to P|ayboy Enterprises, lnc., at the time of the circuit’s decision, argued

 

1 “A ‘work made for hire’ is-... a work specially ordered or commissioned for use as a contri-
bution to a collective work..., if the parties expressly agree in a written instrument signed by them that
the work shall be considered a work made for hire.” 17 U.S.C. § 101(2) (LEX|S Current through PL
115-238, approved 9/7/18, with a gap of PL 115-232).

_4_

Case 6:17-cv-06061-C.]S-l\/lWP Document 88 Filed 10/05/18 Page 5 of 7

“that this requirement of a pre-creation writing has no basis in the statute." ld. at 558. The

Second Circuit decided for the defendant, stating:

Playboy points to Eden Toys, lnc. v. Florelee Undergarment Co., 697 F.2d 27
(2d Cir. 1982), in which we held that the “note or memorandum” of a transfer
agreement, required by § 204(a) of the 1976 Act, “need not be made at the
time when the license is initiated; the requirement is satisfied by the copyright
owner's later execution of a writing which confirms the agreement.” ld. at 36.

*>'<*

We find that the 1976 Act requires that the parties agree before the creation
of the work that it will be a work made for hire.

We are not convinced, however, that the actual writing memorializingthe agree-
ment must be executed before the creation of the work. The Nimmers make a
convincing argument in their treatise on copyrights that such a requirement
could itself create uncertainty. They argue:

One can [] imagine claims involving parties each of whom knew of the
unanimous intent among all concerned that the work for hire doctrine
would apply, notwithstanding that some of the paperwork remained
not fully executed until after creation of the subject work. ln that [j cir-
cumstance, the bright line rule could frustrate the intent of the parties,
and cloud rather than serve the goal of certainty.

1 Nimmer § 5.03[B][2][b] (1994). They conclude that “perhaps this rule needs
further testing in the crucible of fact patterns by future cases." ld. We agree. ln
the fact pattern of this case, we will assume that the writing requirement of
§ 101(2) can be met by a writing executed after the work is created, if the writ-
ing confirms a prior agreement, either explicit or implicit, made before the cre-
ation of the work.

ld. at 559. The 2004 agreement in this case, which the Court quoted verbatim in its prior
decision, Estate of Kauffmann v. Rochester Inst. of Tech., No. 17-CV-6061-CJS-l\/lWP, 2018
U.S. Dist. LEX|S 131825, *5-6 (W.D.N.Y. Aug. 6, 2018), clearly “confirm[ed] a prior [explicit]

agreement..., made before the creation of the work[s].” Playboy Enters., 53 F.3d at 559.

Case 6:17-cv-06061-C.]S-l\/lWP Document 88 Filed 10/05/18 Page 6 of 7

The Fifth Circuit has stated that “the Second Circuit [is] the de facto Copyright Court of
the United States...." Easter Seal Soc. for Crippled Children & Adults of Louisiana, lnc. v. Play-
boy Enterprises, 815 F.2d 323, 325 (5th Cir. 1987). Nevertheless, contrary authority to the
holding in Playboy exists in the Seventh Circuit. Schiller & Schmidt, lnc. v. Nordisco Corp., 969
F.2d 410, 413 (7th Cir. 1992) (“The writing must precede the creation of the property in order
to serve its purpose of identifying the (noncreator) owner unequivocally."). ln the Schiller case,
the circuit court also noted “there is authority that it must be signed before suit is brought.”
ld. at 412 (citing Watson v. lVlcCabe, 527 F.2d 286, 289 (6th Cir. 1975).

Lawyers who practice in this Court are bound by the New Vork Rules of Professional
Conduct. W.D.N.Y. Loc. R. Civ. P. 83.3 (2018). ln that regard, “A lawyer shall not bring or de-
fend a proceeding, or assert or controvert an issue therein, unless there is a basis in law and
fact for doing so that is not frivolous.” N.Y. R. Prof. Cond. 3.1(a) (2009). Commentary 2 of the
rule contains this admonishment:

The action is frivolous, however, if the action has no reasonable purpose other

than to harass or maliciously injure a person, or if the lawyer is unable either to

make a good-faith argument on the merits of the action taken or to support the

action taken by a good-faith argument for an extension, modification or reversal
of existing law (which includes the establishment of newjudge-made law).

N.Y. R. Prof. Cond. 3.1, comment 2 (2009).

The Court finds that a good faith basis exists for arguing that the Court ought to adopt
the Seventh Circuit’s holding, or that the Second Circuit’s holding in Playboy is limited to its
unique facts and a different result should obtain here. Therefore, the Court determines that
the Estate’s bringing of this lawsuit, and continuing it even after discovery of the 2004 agree-
ment, was neither frivolous nor objectively unreasonable. lt is possible upon reviewing this

Court’s holding on the merits, that the Second Circuit will reach the conclusion sought by the

_6_

Case 6:17-cv-06061-C.]S-l\/lWP Document 88 Filed 10/05/18 Page 7 of 7

Estate-that the letter agreement is insufficient to meet the writing requirement of 17 U.S.C.
§ 101(2). Therefore, the Court declines to order payment of a reasonable attorney’s fee to
RlT. The Court will, however, approve RlT’s bill of costs not to exceed $200.00 and direct

payment by the Estate.2

CONCLUS|ON
RlT’s motion for an award of costs including a reasonable attorney’s fee is granted in
part. ECF No. 76. The Clerk may tax costs not exceeding $200.00 to the Estate, but the Court,
in its discretion pursuant to 17 U.S.C. § 505, denies RlT’s motion for attorney’s fees.
|T IS SO ORDERED.

Dated: october i, 2018
Rochester, New York

   

ENTER:

       
 

cHEARl_s J. ""1 ¢ usA j ‘
United States District Judge/"

 

2 At oral argument, the Court inquired of counsel for RlT about whether he had an idea of the
costs, to which counsel replied, “it's a good question. Unfortunately, Ms. Moore [co-counsel] had that
fact and she’s on leave. But l believe it’s no more than $200, your Honor.”

_7_

